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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re                                                           Chapter 11

    FRANCHISE GROUP., et al., 1                                     Case No. 24-12480 (JTD)

                               Debtors.                             (Jointly Administered)

    FRANCHISE GROUP., et al.,2
                                                                    Adversary No. 24-50237 (JTD)
                                Plaintiffs,

    BRIAN GALE, MARK NOBLE, TERRY
    PHILIPPAS, LAWRENCE BASS and JOHN
    DOES 1-20,

                                Defendants.


                               NOTICE OF APPEARANCE AND
                        REQUEST FOR SERVICE OF NOTICES AND PAPERS




1
  The Debtors in these chapter 11 cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028),
Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444),
American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate
Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC
(8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC
(5940), American Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408),
Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet,
LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group
Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968),
Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate
BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe
Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe
Procurement Services, LLC (8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590),
Betancourt Sports Nutrition, LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco
PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service
Newco, LLC (6414), WNW Franchising, LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP
Franchising, LLC (4978), PSP Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL,
LLC (2695), Franchise Group Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located
at 109 Innovation Court, Suite J, Delaware, Ohio 43015.
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    The Plaintiffs in this adversary care are the Debtors listed in footnote one.
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              PLEASE TAKE NOTICE that Pashman Stein Walder Hayden, P.C., Bernstein

Litowitz Berger & Grossmann LLP, Kessler Topaz Meltzer & Check LLP, and Block & Leviton,

LLP hereby enter their appearance (the “Notice of Appearance”) in the above-captioned cases as

counsel to Brian Gale (“Gale”), Mark Noble (“Noble”), Terry Philippas (“Philippas”) and

Lawerence Bass (“Bass”), on behalf of themselves and similarly situated former stockholders of

Franchise Group, Inc. (collectively, the “Former Stockholders”), pursuant to section 1109(b) of

title 11 of the United States Code, rules 2002, 3017(a), 9007, and 9010 of the Federal Rules of

Bankruptcy Procedure (as amended, the “Bankruptcy Rules”), and rule 2002-1(d) of the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware, and request that copies of any and all notices and papers filed or entered in these

cases be given to and served upon the following:




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PASHMAN STEIN WALDER                                     BERNSTEIN LITOWITZ
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                PLEASE TAKE FURTHER NOTICE that this constitutes not only a request for

service of the notices and papers referred to in the Bankruptcy Rules specified above, but also

includes, without limitation, a request for service of all orders and notices of any application,

motion, petition, pleading, request, complaint, or demand, whether formal or informal, whether

written or oral, and whether transmitted or conveyed by mail, courier service, hand delivery,

telephone, facsimile transmission, email or otherwise, that (1) affects or seeks to affect in any way

any rights or interests of any creditor or party in interest in this case, with respect to (a) the debtors


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in the above-captioned cases (the “Debtors”) and any related adversary proceedings, whether

currently pending or later commenced, (b) property of the Debtors’ estates, or proceeds thereof, in

which the Debtors may claim an interest, or (c) property or proceeds thereof in the possession,

custody, or control of others that the Debtors may seek to use, or (2) requires or seeks to require

any act or other conduct by a party in interest.

               PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and any

subsequent appearance, pleading, claim, or suit is not intended nor shall be deemed to waive the

rights of the Former Stockholders: (1) to have an Article III judge adjudicate in the first instance

any case, proceeding, matter, or controversy as to which a bankruptcy judge may not enter a final

order or judgment consistent with Article III of the United States Constitution; (2) to have final

orders in a non-core case, proceeding, matter, or controversy entered only after an opportunity to

object to proposed findings of fact and conclusions of law and a de novo review by a district court

judge; (3) to trial by jury in any case, proceeding, matter, or controversy so triable; (4) to have the

reference withdrawn by the United States District Court in any case, proceeding, matter, or

controversy subject to mandatory or discretionary withdrawal; or (5) any other rights, claims,

actions, defenses, setoffs, or recoupments to which the Former Stockholders are or may be entitled

under agreements, in law, or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments expressly are hereby reserved.




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Dated: December 12, 2024              PASHMAN STEIN WALDER HAYDEN, P.C.
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                          -and-

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                          Counsel to the Former Stockholders




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                               CERTIFICATE OF SERVICE


       I, Joseph C. Barsalona II, hereby certify that on December 12, 2024, I caused a copy of the

foregoing NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF NOTICES AND

PAPERS to be served on all parties who are scheduled to receive notice through the Court’s ECF

system.


                                     PASHMAN STEIN WALDER HAYDEN, P.C.

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